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Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and
                      25-1677 (Consolidated)


             In the United States Court of Appeals
                     for the Third Circuit

 ATLAS DATA PRIVACY CORP., as assignee of individuals who are
                 Covered Persons, et al.,
                                                        Plaintiffs-Appellees,

                                     v.

                       WE INFORM LLC, et al.,
                                                    Defendants-Appellants.


  On Appeal from the Order and Memorandum of the United States
District Court for the District of New Jersey, dated November 26, 2024

              BRIEF OF AMICI CURIAE
FOUNDATION FOR INDIVIDUAL RIGHTS AND EXPRESSION
  AND REPORTERS COMMITTEE FOR FREEDOM OF THE
         PRESS IN SUPPORT OF APPELLANTS

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               RULE 26.1 DISCLOSURE STATEMENT

     Amici Curiae Foundation for Individual Rights and Expression

(FIRE) and Reporters Committee for Freedom of the Press (RCFP),

nonprofit organizations, state that they have no parent companies,

subsidiaries, or affiliates, and do not issue shares to the public.




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                  INTEREST OF AMICI CURIAE1

      The Foundation for Individual Rights and Expression (FIRE) is a

nonpartisan nonprofit that defends the individual rights of all Americans

to free speech and free thought—the essential qualities of liberty. Since

1999, FIRE has successfully defended the rights of individuals through

public advocacy, strategic litigation, and participation as amicus curiae

in cases that implicate expressive rights under the First Amendment. In

2022, FIRE expanded its public advocacy beyond the university setting

and now defends First Amendment rights both on campus and in society

at large. See, e.g., Texas A&M Queer Empowerment Council v. Mahomes,

Civ. A. No. 25-992, 2025 WL 895836 (S.D. Tex. Mar. 24, 2025); Flores v.

Bennett, No. 22-16762, 2023 WL 4946605 (9th Cir. Aug. 3, 2023). In doing

so, it represents speakers without regard to their political views in

lawsuits across the United States, including in matters involving

government attempts to regulate speech in the name of personal safety




  1  No counsel for a party authored this brief in whole or in part.
Further, no person, other than amici, their members, or their counsel
contributed money intended to fund this brief’s preparation or
submission. Amici sought consent to the filing of this brief. The New
Jersey Office of Attorney General consented. Amici did not hear back
from counsel for Plaintiffs.


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or privacy. See, e.g., NetChoice, LLC v. Bonta, 113 F.4th 1101 (9th Cir.

2024); Volokh v. James, 656 F. Supp. 3d 431 (S.D.N.Y. 2023).

     FIRE has a strong interest in preserving the robust protection for

freedom of expression secured by the United States Supreme Court’s

First Amendment jurisprudence, even when the government invokes

those interests. FIRE files this brief in support of Appellants because in

rejecting strict scrutiny, the decision below fails to adhere to the “strict

categorical rules” that “keep[] the starch in the standards” protecting our

freedom of speech. Denver Area Educ. Telecomms. Consortium, Inc. v.

FCC, 518 U.S. 727, 774 (1996) (Souter, J., concurring).

     The Reporters Committee for Freedom of the Press is an

unincorporated nonprofit association. The Reporters Committee was

founded by leading journalists and media lawyers in 1970 when the

nation’s news media faced an unprecedented wave of government

subpoenas forcing reporters to name confidential sources. Today, its

attorneys provide pro bono legal representation, amicus curiae support,

and other legal resources to protect First Amendment freedoms and the

newsgathering rights of journalists.




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                           INTRODUCTION

      New Jersey’s Daniel’s Law is a statute with a laudable purpose but

also significant constitutional flaws that the district court erroneously

excused by treating it as a privacy law. In 2020, a disgruntled attorney

found U.S. District Judge Esther Salas’s home address online, armed

himself then went to her home, and there wounded her husband and

murdered her son, Daniel Anderl. In response to this shocking crime,

New Jersey’s legislature enacted Daniel’s Law, which aims to protect

certain public officials and their immediate families living with them.2

      Daniel’s Law allows any “covered person”—mainly judges, law

enforcement officers, certain other public officials, and their immediate

family members in the same household—to send a written “notification”

to any person, business or association, which, within 10 days of receiving

the notice, shall no longer “disclose or re-disclose on the Internet or

otherwise make available” the covered person’s “home address or

unpublished home telephone number.” N.J. Stat. Ann. § 56:8-166.1(a)(1),

(d). The law allows private lawsuits to enforce this prohibition and




  2  2020 N.J. Laws ch. 125 (codified at N.J. Stat. Ann. §§ 2C:30-31.1,
47:1-17, :1A-1.1, .5, 56:8-166.1 to .3).


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requires awards of actual or liquidated civil damages to successful

plaintiffs. It also carries potential criminal liability. The law imposes

these restrictions despite the general availability of covered persons’

information from the government and public records, which the law

leaves intact.

     Atlas Data Privacy Corporation gathered assigned claims from

almost 20,000 covered persons under Daniel’s Law, sent thousands of

notices to businesses to depublish its assignees’ information, and brought

dozens of lawsuits simultaneously against those who failed to comply. In

a consolidated motion to dismiss, Defendants (now Appellants) argued in

part that Daniel’s Law unconstitutionally infringed their rights of free

speech under the First and Fourteenth Amendments as a content-based

restriction. The district court agreed Daniel’s Law is a content-based

restriction on speech, which normally draws receives strict scrutiny, but

instead held it survived judicial review under lesser scrutiny it believed

applies to privacy laws, despite the statute’s text characterizing itself as

designed to enhance the safety of covered persons.

     The district court erred in so holding. Even accepting its mispercep-

tion of Daniel’s Law as aiming to protect privacy rather than safety, there



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is no general strict-scrutiny exception for privacy laws, as this Court

illustrated in Schrader v. District Attorney of York County, 74 F.4th 120

(3d Cir. 2023). Daniel Anderl’s murder was tragic, and our public officials

deserve protection. But the Court cannot let the misguided sentiment

that asserted government interests in privacy can allow content-based

laws to receive lesser scrutiny to take root at the expense of the firm

protections the First Amendment provides, and must instead reverse,

apply strict scrutiny, and hold Daniel’s Law unconstitutional.

                       SUMMARY OF ARGUMENT

     Daniel’s Law is a content-based restriction of speech, and thus it

must satisfy strict scrutiny. Only by keeping the starch in our

constitutional standards—even when targeted speech may be of great

concern—can we properly protect First Amendment rights. The Supreme

Court has consistently required the government to meet a heavy burden

when it regulates speech based on content for that good reason: “The

essence of … forbidden censorship is content control. Any restriction on

expressive activity because of its content would completely undercut the

profound national commitment to the principle that debate on public

issues should be uninhibited, robust, and wide-open.” Police Dep’t of Chi.



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v. Mosley, 408 U.S. 92, 95–96 (1972) (internal quotation marks and

citation omitted).

     When a court confronts a content-based restriction on speech, strict

scrutiny is the proper standard of judicial review, as the Supreme Court

has modeled time and again over the decades. See, e.g., First Nat’l Bank

of Bos. v. Bellotti, 435 U.S. 765, 786 (1978); Sable Commc’ns of Cal., Inc.

v. FCC, 492 U.S. 115, 126 (1989); Reno v. ACLU, 521 U.S. 844, 874 (1997);

Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 799 (2011); Reed v. Town of

Gilbert, 576 U.S. 155, 163 (2015). Legislative overreach in response to

senseless tragedy may be understandable, even expected. Strict scrutiny

ensures “that the inequities of the moment are subordinated to

commitments made for the long run.” Denver Area Educ. Telecomms.

Consortium, Inc., 518 U.S. at 785 (Kennedy, J., concurring in the

judgment in part, and dissenting in part). When considering the

constitutionality of a motivated legislature’s chosen means to seemingly

worthy ends, it is perhaps especially important for courts to remember

that standards like strict scrutiny “mean little if they can be watered

down whenever they seem too strong.” Id.




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     Despite the longstanding application of strict scrutiny to content-

based restrictions and its necessity to protect free speech, the district

court refused to apply it here, despite correctly holding Daniel’s Law is

content-based, because, in the court’s view, it restricts speech to advance

privacy interests and is thus analyzed under the test in The Florida Star

v. B.J.F., 491 U.S. 524 (1989). But as this Court recently illustrated in

applying strict scrutiny to a statute shielding the privacy of child abuse

victims, there is no “privacy exception” to the requirement that content-

based laws satisfy strict scrutiny. See Schrader v. Dist. Att’y of York

Cnty., 74 F.4th 120, 126–28 (3d Cir. 2023).

     The district court’s misconstruction of Daniel’s Law as a privacy

statute also led it to commit the independent error of reading a scienter

requirement into it, using mismatched New Jersey tort law. The

Supreme Court broadly rejects content-based speech restrictions that

lack scienter requirements as unconstitutional, because they can chill

protected speech. The district court doubly erred when it read a scienter

requirement into Daniel’s Law to save it.

     Where the statute on its face included no scienter requirement for

standard offenses, the court erred by imposing one. And it further erred



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by importing a negligence standard from an inapposite state common-

law tort that does not apply to disclosure of information that is otherwise

available to the public. This maneuver—like the court’s conclusion that

Daniel’s Law is a privacy statute, and therefore subject to something less

than strict scrutiny—waters down the vigilant protections the First

Amendment requires for free speech.

                              ARGUMENT

I.   DANIEL’S LAW IS A CONTENT-BASED SPEECH
     RESTRICTION PROPERLY SUBJECT TO STRICT
     SCRUTINY.

     Daniel’s Law must withstand strict scrutiny because it restricts the

dissemination of home addresses or unpublished home phone numbers of

covered persons, which is communicative content. The district court thus

correctly concluded Daniel’s Law is a content-based restriction on speech

because it regulates speech based on subject matter or topic. Atlas Data

Priv. Corp. v. We Inform, LLC, Civ. A. No. 24-4037, 2024 WL 4905924, at

*6 (D.N.J. Nov. 26, 2024); see also Reed v. Town of Gilbert, 576 U.S. 155,

163 (2015); Sorrell v. IMS Health Inc., 564 U.S. 552, 570 (2011) (holding

dissemination of information is protected speech). And because Daniel’s

Law is content based, the court should have recognized it is a highly




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disfavored, presumptively unconstitutional speech restriction that must

withstand strict scrutiny’s exacting demands. Reed, 576 U.S. at 163.

     Strict scrutiny’s vigilance is necessary to keep the government from

censoring disfavored speech. Overcoming the presumption of invalidity

of content-based regulation thus “requires the Government to prove that

the restriction furthers a compelling interest and is narrowly tailored to

achieve that interest.” Id. at 171. “If a less restrictive alternative would

serve the Government’s purpose, the legislature must use that

alternative.” United States v. Playboy Ent. Grp., Inc., 529 U.S. 803, 813

(2000).

     Strict scrutiny is a nearly insurmountable hurdle. “It is rare that a

regulation restricting speech because of its content will ever be permis-

sible.” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 799 (2011) (quoting

Playboy, 529 U.S. at 818); accord Ysursa v. Pocatello Educ. Ass’n, 555

U.S. 353, 366 (2009) (Breyer, J., concurring in part and dissenting in

part) (observing that strict scrutiny is a “categorization that almost

always proves fatal to the law in question”). This Court has described

strict scrutiny as imposing a “daunting” burden on the government to




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justify its content-based restriction of speech. Schrader v. Dist. Att’y of

York Cnty., 74 F.4th 120, 127 (3d Cir. 2023).

     Content-based restrictions require strict scrutiny “because they

place the weight of government behind the disparagement or suppression

of some messages, whether or not with the effect of approving or

promoting others.” Hill v. Colorado, 530 U.S. 703, 735 (2000) (Souter, J.,

concurring). As Justice Scalia explained, “The vice of content-based

legislation—what renders it deserving of the high standard of strict

scrutiny—is not that it is always used for invidious, thought-control

purposes, but that it lends itself to use for those purposes.” Madsen v.

Women’s Health Ctr., Inc., 512 U.S. 753, 794 (1994) (Scalia, J., concurring

in the judgment in part and dissenting in part). The “danger of censorship

presented by a facially content-based statute requires that that weapon

be employed only where it is necessary to serve the asserted compelling

interest.” R.A.V. v. City of St. Paul, 505 U.S. 395, 382 (1992) (cleaned up)

(citations omitted).

     The district court refused to apply strict scrutiny because Daniel’s

Law seeks to enhance the safety of judges and other officials following

the brutal murder of Mr. Anderl at his home. But salutary government



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“motives do not eliminate the danger of censorship presented by a facially

content-based statute, as future government officials may one day wield

such statutes to suppress disfavored speech.” Reed, 576 U.S. at 167.

      The district court’s holding that Daniel’s Law is a “privacy” statute

and thus not subject to strict scrutiny compromises the Supreme Court’s

rejection of content-based restrictions. Strict scrutiny is demanding for

good reason. And regardless of whether Daniel’s Law somehow protects

privacy even when the purportedly private information at issue is

available from the government in public records, the government’s

“benign motives” do not save Daniel’s Law from strict scrutiny. Id. at 165.

It may not be evaded because the speech restriction at issue is enacted in

the name of public safety.

II.   THE DISTRICT COURT ERRED WHEN IT REJECTED
      STRICT SCRUTINY IN FAVOR OF A LESS RIGOROUS
      TEST BASED ON PRIVACY.

      Rather than applying strict scrutiny to Daniel’s Law, the district

court erroneously concluded that—though content-based—it is a privacy

statute akin to those issue in Florida Star v. B.J.F., 491 U.S. 524 (1989),

and Smith v. Daily Mail Publishing Co., 443 U.S. 97 (1979). Atlas Data

Priv. Corp., 2024 WL 4905524, at *7–8. It did so despite the New Jersey



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legislature itself justifying the statute as a public safety measure

intended to “enhance the safety and security of certain public officials”

and their immediate family members. N.J. Stat. Ann. § 56:8-166.3.

     Reed makes no privacy-based exceptions for content-based

restrictions: All content-based restrictions are subject to strict scrutiny.

Reed, 576 U.S. at 167. By creating an exception to strict scrutiny for

privacy concerns—and by applying the less rigorous analysis Florida

Star and Daily Mail describe—the district court’s decision circumvents

the most important guardrail against content-based censorship.

     Even if Daniel’s Law were a privacy statute—which it is not, by its

own terms—the Supreme Court has never stated that content-based

statutes that protect privacy interests are exempt from strict scrutiny. In

fact, it has made clear the opposite is true. See, e.g., Barr v. Am. Ass’n of

Pol. Consultants, Inc., 591 U.S. 610, 621–22 (2020) (applying strict

scrutiny to content-based exception to the Telephone Consumer

Protection Act, which protects privacy interests and, like Daniel’s Law,

allows private civil claims for statutory damages). This Court has

proceeded accordingly, such as when it recently applied strict scrutiny to




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a content-based speech restriction intended to protect privacy interests.

Schrader, 74 F.4th at 120.

     In Schrader, a deceased child’s grandmother sought a declaratory

judgment that Pennsylvania’s statute prohibiting release of information

in the state’s child abuse database to unauthorized persons violated the

First Amendment. Id. at 123. The Court explained that the government

“encourages victims to report abuse by keeping their information

private,” id., but nonetheless held the law was content-based—and thus

strict scrutiny applied—because it restricted disclosure only of

information about child abuse. Id. at 123, 127.

     While the Court observed that states generally have a compelling

interest in protecting child-abuse information from disclosure, it noted

the strength of privacy interests “fades once information already appears

on the public record.” Id. at 127 (citing Fla. Star, 491 U.S. at 532 n.7). As

in this case, where there is no dispute that information of public officials

empowered to invoke Daniel’s Law is generally available in other public

records, Atlas Data Privacy Corp., 2024 WL 4905924, at *9, the informa-




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tion the grandmother sought to disclose was already publicly available.

74 F.4th at 127.3

      As the Schrader Court explained—germane to this case—when “the

government has failed to police itself in disseminating information,

prosecuting someone who later publishes that information can hardly be

said to be a narrowly tailored means of safeguarding confidentiality.” Id.

(quotation marks and citation omitted). Daniel’s Law is even less

protective of privacy: under it, the government intentionally—not

accidentally—continues to make public records containing covered

persons’ “private” information generally available. It is difficult to see

how a statute that prohibits third parties from republishing information

the government continues to make publicly available materially

advances any privacy interests.4


  3  The district court here concluded the availability of the “private”
information in public records did not matter given the ostensive difficulty
of visiting courthouses and other physical locations to obtain it. In sup-
port, it cited U.S. Department of Justice v. Reporters Committee for
Freedom of the Press, 489 U.S. 749 (1989), a case decided before public
records became available on the internet. It is doubtful the public record
information now available from government websites is as difficult to
obtain today as it was in pre-internet 1989.
  4  The Court in Schrader did note Daily Mail’s test might apply there
because the state was attempting to prohibit republication of lawfully
obtained truthful information. However, because the law was not nar-

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      Despite the clear applicability of this recent precedent, the district

court did not consider Schrader when it held that strict scrutiny could

not apply to Daniel’s Law. Instead, it held the test in Daily Mail and

Florida Star applies to all First Amendment cases ostensibly involving a

privacy right. Atlas Data Privacy Corp., 2024 WL 4905924, at *8.5

      By first determining Daniel’s Law is a privacy law rather than one

designed to advance government interests in the safety of public officers,

then applying Florida Star’s less-rigorous approach, the district court cir-

cumvented strict scrutiny’s rigorous demands to save the statute from

defendants’ facial challenge. In light of the crucial role strict scrutiny



rowly tailored, as strict scrutiny analysis revealed, the Court held Daily
Mail likewise would have prohibited the state from using the statute to
punish the grandmother. 74 F.4th at 128.
  5   When applying the Florida Star test, the district court held public
officials’ home addresses are not matters of public concern because they
have nothing to do with public oversight. This ignores the oversight need
citizens may have to be able to view the homes of public officials, such as
when Justice Alito’s homes displayed an upside-down American flag and
a flag associated with right-wing causes. See, e.g., Nate Raymond,
Judge’s Criticism of US Supreme Court’s Alito over Flags Is Deemed
Improper,       Reuters       (Dec.     17,     2024,      6:52       P.M.),
https://www.reuters.com/legal/government/judges-criticism-us-supreme-
courts-alito-over-flags-is-deemed-improper-2024-12-17. Likewise, the
home of a government official—or addresses of a public official’s multiple
homes—may be relevant to whether they are living beyond their means,
suggesting possible illegal behavior or corruption.


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plays in prohibiting censorship of speech, the court should not have

reached to justify applying Florida Star. Where a statute prevents

disclosure of speech that remains publicly available to anyone elsewhere,

the state has no privacy interest to protect. Schrader, 74 F.4th at 127.

Under such circumstances, it is proper to avoid undue censorship by

forcing the state to justify its law under strict scrutiny.

III. THE DISTRICT COURT CIRCUMVENTED SUPREME
     COURT PRECEDENT DISFAVORING SPEECH
     RESTRICTIONS THAT IMPOSE STRICT LIABILITY.

     The Supreme Court has long been skeptical of speech restrictions

that, like Daniel’s Law, impose strict liability, holding them unconstitu-

tional because of the chilling effect such statutes have. See Smith v.

California, 361 U.S. 147 (1959). Just as the district court improperly

concluded Daniel’s Law is a privacy statute to save it from the rigors of

strict scrutiny, it further erred when it improperly read a scienter

requirement into Daniel’s Law to save it. And even if reading a scienter

requirement into the law was somehow proper, it was error to land on

the purportedly analogous state tort unreasonable publication of private

facts that—unlike Daniel’s Law—does not allow recovery for publication

of facts that are matters of public record.



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      In Smith, the Supreme Court reviewed an ordinance that made it

unlawful for any person to possess an obscene or indecent writing but did

not reference any scienter requirement. Id. at 148 & n.1. An offender

faced imprisonment simply for possessing an obscene book in his store,

even if he was unaware of its contents—in other words, the ordinance

imposed strict liability.

      The Supreme Court found that such an ordinance would tend to

chill speech and promote self-censorship because of its lack of a scienter

requirement. Booksellers would have to be aware of the contents of every

volume in their shops to know they were safe from prosecution. Id. at

153–54. They would thus likely limit the number and variety of books

they sell to only those they could personally scrutinize, which would in

turn limit public access to protected non-obscene speech.

     Although the ordinance in Smith regulated obscenity, not protected

speech, the Court did not attempt to save it by reading a scienter

requirement into it. Instead, it held the ordinance unconstitutional

because of the chilling effects its strict liability regime would have on

protected speech. Id. at 155.




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      More recently, the Court reaffirmed that scienter requirements are

critical to avoid unconstitutional chill in statutes punishing speech. In

Counterman v. Colorado, it explained that, in various contexts, the First

Amendment precludes punishment unless the statute includes a mens

rea standard of recklessness or actual intent. 600 U.S. 66, 75–82 (2023)

(evaluating mens rea requirements and holding subjective standard of

recklessness is required for punishment of “true threats”); see also Elonis

v. United States, 575 U.S. 723 (2015); United States v. X-Citement Video,

Inc., 513 U.S. 64 (1994).

      Like the ordinance in Smith, Daniel’s Law has no facial scienter

requirement. Instead, it requires courts to award liquidated damages of

$1,000 to any covered person who provided notice to someone who, having

received the notice, “discloses” the covered person’s home address or

telephone number or fails to unpublish it within ten days. N.J. Stat. Ann.

§ 56:8-166.1(c)(1). It makes no exceptions for negligent disclosures. In

fact, to the extent the law includes a scienter requirement at all, it is only

for the award of punitive damages, which are available for willful or

reckless disregard of the law. Id. § 56:8-166.1(c)(2).

      Aware of the Supreme Court’s rulings holding speech restrictions



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without scienter elements unconstitutional, the district court here took

it upon itself to save Daniel’s Law by reading a negligence mens rea

standard into the law. Atlas Data Priv. Corp., 2024 WL 4905924, at *11–

12. That was reversible error. See Virginia v. Am. Booksellers Ass’n, Inc.,

484 U.S. 383, 397 (1988) (explaining “we will not rewrite a state law to

conform it to constitutional requirements”); Video Software Dealers Ass’n

v. Webster, 968 F.2d 684, 691 (8th Cir. 1992) (observing that where “there

is no state court decision narrowing the statute,” courts “lack authority

to impose a narrowing construction”) (citing United Food & Com. Workers

Int’l Union v. IBP, Inc., 857 F.2d 422, 431 (8th Cir. 1988)).

     The district court then compounded its earlier error of deeming

Daniel’s Law a privacy statute by importing a mens rea requirement from

a state privacy tort that it mistakenly deemed analogous. Because strict

liability would be unconstitutional, and because Daniel’s Law already

uses willfulness or recklessness for punitive damages for aggravated

violations, the court held negligence applies to non-aggravated violations.

To do so, it looked to the Supreme Court of New Jersey’s decision in

Romaine v. Kallinger, 537 A.2d 284, 291–92 (N.J. 1988), which involved




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the common-law tort of invasion of privacy by unreasonable publication

of private facts. Atlas Data Priv. Corp., 2024 WL 4905924, at *12.

     But Romaine is inapposite and not analogous. It was not addressing

the tort’s mens rea requirement—it simply described the cause of action

called “invasion of privacy by unreasonable publication of private facts.”

That tort is distinguishable from Daniel’s Law’s imposition of liability

for publication of phone numbers and home addresses because the tort

does not allow recovery for publication of facts that are matters of public

record, like the information at issue in this case: “If the facts are public

information, even though they relate to matters of individual privacy,

they cannot for these purposes be considered ‘private.’” Romaine, 537

A.2d at 298. So not only does Romaine fail to support the District Court’s

mens rea analysis, but it also undermines the court’s conclusion that

Daniel’s Law is analogous to a state law privacy tort in the first place.

                             CONCLUSION

     The district court’s maneuvers to save Daniel’s Law by determining

it is a privacy statute subject to less stringent review than strict scrutiny

and importing a scienter requirement found nowhere in the statute erode




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the protections the Supreme Court requires under the First Amendment

for content-based, strict liability speech restrictions.

     For those reasons, this Court should reverse the district court’s

dismissal of the constitutional challenge to Daniel’s Law.

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